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                 United States Court of Appeals
                             FOR T HE DISTRICT OF COLUMBIA CIRCUIT
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No. 25-1135                                                  September Term, 2024
                                                                              FAA-EA 4/21/25
                                                    Filed On: July 17, 2025 [2126006]
North Texas Conservation Association,

               Petitioner

       v.

Texas Department of Transportation, et al.,

               Respondents

                                         ORDER

       Upon consideration of the federal respondents’ motion for extension of certified
index deadline and petitioner’s motion for extension of time to respond to the motions to
dismiss, it is

       ORDERED that the motions for extension of time be granted. The certified index to
the record is now due within 30 days after this court’s disposition of the pending motions to
dismiss. Petitioner’s responses to the motions to dismiss are now due July 31, 2025.


                                                           FOR THE COURT:
                                                           Clifton B. Cislak, Clerk

                                                   BY:     /s/
                                                           Catherine J. Lavender
                                                           Deputy Clerk
